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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 OUTSOURCING FACILITIES
 ASSOCIATION and NORTH AMERICAN
 CUSTOM LABORATORIES, LLC d/b/a
 FARMAKEIO CUSTOM COMPOUNDING,

                        Plaintiffs,

 v.
                                                    CASE NO. 4:24-cv-953-P
 UNITED STATES FOOD AND DRUG
 ADMINISTRATION and DR. ROBERT M.
 CALIFF,

                        Defendants, and

 ELI LILLY AND COMPANY,

                        Intervenor-Defendant.


                     DEFENDANT-INTERVENOR ELI LILLY AND
                    COMPANY’S RESPONSE TO JOINT MOTION TO
                   REOPEN CASE AND ENTER SCHEDULING ORDER

       Defendant-Intervenor Eli Lilly and Company (“Lilly”) submits this response to the other

parties’ joint filing [ECF No. 38], made before the Court allowed Lilly to intervene, to request that

the Court set an expedited briefing schedule that allows for the timely resolution of this case.

Although Lilly proposed this schedule to the Plaintiffs on January 6, it has not received a response

and so notifies the Court of its position in advance of the hearing to aid in efficient consideration.

       While the Outsourcing Facilities Association (“OFA”) and FarmaKeio Custom

Compounding (“FarmaKeio”) (collectively, “Plaintiffs”) may benefit from delay given Defendant

FDA’s commitment not to take action against Plaintiffs during the pendency of a preliminary

injunction, time is of the essence.      FDA first determined that Lilly’s tirzepatide products

Mounjaro® and Zepbound® were not in shortage on October 2, 2024. ECF No. 1-2, at 2. Plaintiffs
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concede that, even under their legal interpretation, they are not permitted to sell their unapproved

knockoffs of Mounjaro® and Zepbound® in the absence of a shortage and allege that they must

stop such unlawful activities in light of FDA’s determination. ECF No. 1, ¶¶ 48–49. FarmaKeio

has nevertheless continued to make its unapproved knockoffs for months based on FDA’s

commitment “not [to] take action against Plaintiffs and their members for violations of the [FDCA]

arising from conditions that depend on tirzepatide’s inclusion on the drug shortage list.” ECF

No. 27, at 3. FDA made that commitment in October 2024 to ensure it had the time to carefully

evaluate whether the shortage has been resolved. On December 19, 2024, FDA determined that

the shortage was resolved but issued a grace period of 60 days for 503A compounders (like

FarmaKeio) and 90 days for 503B outsourcing facilities. FDA expressly acknowledged that these

periods exceeded the grace periods provided in its guidance documents and that a lengthy period

of non-enforcement would not be appropriate. ECF No. 32-1, at 11. Nevertheless, FDA again

committed in this case to “continue to exercise such enforcement discretion through the Court’s

resolution of [a] motion [for preliminary injunction].” ECF No. 32, at 1. Thus, while entities like

FarmaKeio have no lawful right to make or sell copies of Lilly’s medicines, they have already

benefitted from a de facto injunction of over three months and obtained an extended grace period

following the December 19 order; for Plaintiffs themselves, the grace period seemingly remains

running indefinitely until resolution of their upcoming motion.

       “A preliminary injunction is an extraordinary equitable remedy that is never awarded as of

right”; it requires a plaintiff to “make a clear showing” that they are entitled to one under the

traditional four-factor standard. Starbucks Corp. v. McKinney, 602 U.S. 339, 345 (2024) (cleaned

up). Thus, Plaintiffs should not receive the benefit of a preliminary injunction, beyond the already

extended, generous, and generally applicable non-enforcement period, without making the




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necessary showing. Given the status quo and to align the case with FDA’s grace period, Lilly

believes it is essential to expedite the resolution of this case. The other parties’ proposed briefing

schedule, however, does not even begin until the parties submit a protective order and would

extend briefing on Plaintiffs’ upcoming motion into March, over five months after FDA

determined Lilly’s medicines were not in shortage. ECF No. 38, at 2. (requesting that replies be

due 52 days after Plaintiffs receive the unredacted Decision Memorandum on or about January 15,

2025). 1

           A lengthy briefing schedule for Plaintiffs’ preliminary injunction (or summary judgment)

motion will incentivize and embolden Plaintiffs to continue unauthorized and unsafe copying of

Lilly’s medicines, which could also yield even worse outcomes for patients. FarmaKeio and others

have been compounding knockoffs of Lilly’s medicines by claiming that the prohibitions in the

compounding statutes, and particularly 21 U.S.C. § 353a(b)(1)(D), do not apply during drug

shortages. See, e.g., Compl., ECF No. 1, ¶ 20. With the shortage now over, every day they

continue compounding is another day that patients are needlessly exposed to untested and

unapproved knockoffs of Lilly’s medicines, in defiance of the FDCA’s express terms.

           These are not theoretical risks.         As the nation learned during the New England

Compounding Center (“NECC”) disaster when compounded drugs killed more than 100

Americans and sickened hundreds more, 2 compounding pharmacies like FarmaKeio generally do

not follow current good manufacturing practices (“cGMP”), and they generally cannot safely




1
    On January 6, 2025, the Court proposed converting “Plaintiffs’ impending motion for preliminary injunction into
    a motion for summary judgment” and asked the parties to come to a hearing, now scheduled for January 14,
    “prepared to discuss any issues it may have with the proposed briefing schedule.” ECF No. 51, at 1; ECF No. 52.
2
    Press Release, Former Owner of Defunct New England Compounding Center Resentenced to 14 Years in Prison
    in Connection with 2012 Fungal Meningitis Outbreak, U.S. DEP’T OF JUSTICE (July 7, 2021),
    https://www.justice.gov/usao-ma/pr/former-owner-defunct-new-england-compounding-center-resentenced-14-
    years-prison.


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manufacture mass quantities of sterile injectables like Mounjaro® and Zepbound®. Allowing

such entities to continue compounding unlimited quantities of knock-off tirzepatide (as Plaintiffs

ask the Court) risks repeating the NECC disaster. The Court need not take Lilly’s word for it:

FDA recently warned that it received “more than 215 reports of adverse events with compounded

tirzepatide,” with “some requiring hospitalization,” though the actual number of patients suffering

adverse events was almost certainly much higher as “federal law does not require” pharmacies “to

submit adverse events to FDA.” 3 Inspections have uncovered pharmacies compounding sterile

injections—including tirzepatide—under conditions likely to result in contamination. 4 Most

alarmingly, FDA specifically cited FarmaKeio in 2022 for using “non-pharmaceutical grade

components” and “[n]on-sterilized equipment” to prepare allegedly sterile drugs, and issued a

warning letter—that appears to be unresolved—for “serious deficiencies in . . . practices for

producing drug products intended or expected to be sterile, which put patients at risk.” 5 Despite

these unresolved issues, FarmaKeio claims it earns “approximately $1,750,000 to $2,000,000 . . .

per month” from compounding unapproved tirzepatide drugs that are expected to be sterile. ECF

No. 8, at 19–20. Unsurprisingly, leading U.S. health organizations and foreign governments have




3
    FDA’s Concerns with Unapproved GLP-1 Drugs Used for Weight Loss, U.S. FOOD & DRUG. ADMIN. (Dec. 18,
    2024),     https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-providers/fdas-concerns-
    unapproved-glp-1-drugs-used-weight-loss.
4
    FDA warns patients and health care professionals not to use compounded drugs from Fullerton Wellness, U.S.
    FOOD & DRUG. ADMIN. (Nov. 1, 2024), https://www.fda.gov/drugs/drug-safety-and-availability/fda-warns-
    patients-and-health-care-professionals-not-use-compounded-drugs-fullerton-wellness.
5
    Form FDA 483 to N. Am. Custom Labs., LLC d/b/a FarmaKeio Superior Custom Compounding, 6 (Mar. 10,
    2022), https://www.fda.gov/media/160771/download; E.g., Warning Letter from Div. of Pharma. Quality Op. II
    to J. Graves, Vice President, N. Am. Custom Labs., LLC d/b/a FarmaKeio Superior Custom Compounding (Nov.
    18, 2022), https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-
    letters/north-american-custom-laboratories-llc-dba-farmakeio-superior-custom-compounding-642792-
    11182022.



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urged patients to avoid compounded tirzepatide, including because of “uncertainty about their

content, safety, quality, and effectiveness.” 6

        Indeed, in resolving the tirzepatide shortage, FDA recognized that “compounded drugs

have not undergone FDA premarket review for safety, effectiveness, and quality, and lack a

premarket inspection and finding of manufacturing quality that is part of the drug approval

process.” ECF No. 32-1, at 11. And “drug products that meet the conditions under section 503A

are not subject to CGMP requirements and are subject to less robust production standards that

provide less assurance of quality.” Id. For these reasons and others, FDA recognized that “an

indefinite or overly long period of enforcement discretion for continued compounding of drugs

that may be essentially copies of an approved drug that is no longer in shortage would not be

appropriate.” Id. Based on that judgment, FDA decided to begin enforcing the FDCA against

Section 503A state-licensed pharmacies on February 17 and Section 503B outsourcing facilities

on March 19. Id., at 10.

        FDA developed this 60/90-day grace period “to avoid unnecessary disruption to patient

treatment and to help facilitate an orderly transition.” Id., at 10. In doing so, FDA acknowledged

that this enforcement delay already “is longer than the period previously described in FDA’s

guidance documents” when medicines are removed from the shortage list. Id., at 11.




6
    Press Release, The American Diabetes Association Announces Statement on Compounded Incretin Products, AM.
    DIABETES ASS’N (Dec. 2, 2024), https://diabetes.org/newsroom/press-releases/american-diabetes-association-
    announces-statement-compounded-incretin#; Leading Obesity Expert Organizations Release Statement to
    Patients on Compounded GLP-1 Alternatives, OBESITY MED. ASS’N (Jan. 8, 2024),
    https://obesitymedicine.org/blog/leading-obesity-expert-organizations-release-statement-to-patients-on-glp-1-
    compounded-alternatives/; Press Release, Protecting Australians from unsafe compounding of replica weight loss
    products, DEP’T OF HEALTH & AGED CARE (May 22, 2024), https://www.health.gov.au/ministers/the-hon-mark-
    butler-mp/media/protecting-australians-from-unsafe-compounding-of-replica-weight-loss-products;           Press
    Release, SAHPRA’s Position On GLP1 And GIP-GLP1 Products That Are Compounded, Substandard And
    Falsified, S. AFRICAN HEALTH PRODS. REGULATORY AUTH. (Nov. 8, 2024), https://www.sahpra.org.za/news-
    and-updates/sahpras-position-on-glp1-and-gip-glp1-products-that-are-compounded-substandard-and-
    falsifiedas/.


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       Lilly submits that the parties should endeavor to complete preliminary injunction or

summary judgment briefing by February 17, consistent with the FDA’s determination that it

provides sufficient time for an orderly transition of patients away from compounded products to

FDA-approved medicines. Anything else will result in an “overly long period of enforcement

discretion for continued compounding” that “would not be appropriate”—particularly given this

60/90 day extension is on top of the 60-day enforcement reprieve they already received while FDA

reconsidered and reaffirmed its determination. See id. at 10.

       Therefore, Lilly proposes the following schedule for preliminary injunction (or summary

judgment) briefing.

                       Event                                       Deadline
 Plaintiffs’ motion for preliminary injunction or           Tuesday, January 21, 2025
 summary judgment
 Defendants’ and Lilly’s responses to                           Friday, February 7, 2025
 Plaintiffs’ motion for preliminary injunction or
 summary judgment
 Plaintiffs’ reply in support of motion                     Friday, February 14, 2025
 Hearing                                                   As soon as possible thereafter

This schedule allows sufficient time to brief the issues and completes briefing before February 17.

       To the extent FDA believes it can produce the full administrative record and Plaintiffs

believe they could file a summary judgment motion on this schedule, Lilly has no objection to

converting the motion into one for summary judgment. However, should conversion require

extending a briefing schedule beyond the February 17 enforcement date, then the conversion

would inappropriately confer on Plaintiffs a functional preliminary injunction without them having

made the requisite showing required by law. See, e.g., Starbucks Corp., 602 U.S. at 345–46.

Accordingly, Lilly respectfully requests the Court to enter a schedule that would ensure that

Plaintiffs’ challenge to FDA’s decision resolving the tirzepatide shortage is fully briefed by

February 14, 2025, whether on a motion for summary judgment or for preliminary injunction,


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which would ensure that patients receive FDA-approved medicine that is proven safe and effective

and Plaintiffs do not improperly receive an “overly long period of enforcement discretion.” ECF

No. 32-1, at 11.



 Dated: January 13, 2025                       Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 13, 2025, I served the foregoing document electronically

in accordance with the Federal Rules of Civil Procedure.

                                            /s/ Dee J. Kelly, Jr.
                                            Dee J. Kelly, Jr.




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